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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                      December 17, 2019
                    IN THE UNITED STATES DISTRICT COURT                David J. Bradley, Clerk
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION




EQUAL EMPLOYMENT OPPORTUNITY           §
COMMISSION,                            §
                                       §
                    Plaintiff,         §
                                       §
v.                                     §       CIVIL ACTION NO. H-18-3407
                                       §
WAL-MART STORES TEXAS, LLC,            §
                                       §
                  Defendant.           §




                       MEMORANDUM OPINION AND ORDER



      The   Equal     Employment   Opportunity     Commission     ("EEOC"          or

"Plaintiff") filed this action against Wal-Mart Stores Texas, LLC

("Defendant") alleging disability discrimination in violation of

the Americans with Disabilities Act of 1990              ("ADA") .       Pending

before the court is Plaintiff EEOC's Opposed Motion to Quash and

for Protective Order from Defendant's Written Discovery Concerning

Conciliation ("Plaintiff's Motion to Quash") (Docket Entry No. 25).

For the reasons explained below, Plaintiff's Motion to Quash will

be granted in part and denied in part, and the parties will be

permitted to supplement their briefing on Defendant's Opposed

Motion to Stay and Compel Conciliation            ("Defendant's Motion to

Stay") (Docket Entry No. 29) after additional discovery.
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                      I.     Factual and Procedural Background

         Plaintiff brings this action on behalf of Jesse Landry,                a

congenital amputee who lacks a right hand and forearm. 1                Defendant

interviewed Landry for a stocker position on July 14,                      2018. 2

Plaintiff          alleges    that   the   manager   conducting   the   interview

informed Landry that she could not do the job due to her disability

and ended the interview. 3           Landry filed a charge of discrimination

with Plaintiff in October of 2015. 4                 Plaintiff investigated the

charge and on May 14, 2018, sent Defendant a letter that concluded

there was reasonable cause to believe Defendant had violated the

law. 5        Plaintiff alleges it attempted to settle the case through

conciliation, but Defendant alleges that the "EEOC wholly failed to

properly engage in the conciliation process in good faith . . .                 "6



In September of 2018 Plaintiff determined that conciliation had

failed, and Plaintiff filed this action on September 24, 2018. 7



      Complaint, Docket Entry No. 1, pp. 3-4 � 13.
         1
                                                        All page
numbers for docket entries in the record refer to the pagination
inserted at the top of the page by the court's electronic filing
system, CM/ECF.
         2
             Id. at 4 � 16.


         4
             Plaintiff's Motion to Quash, Docket Entry No. 25, p. 2.
         5
             Id.

      Id.; Defendant's Response in Opposition to Plaintiff's Motion
         6

to Quash and Protective Order, ("Defendant's Response") Docket
Entry No. 30, p. 8 � 15.
         7
             Plaintiff's Motion to Quash, Docket Entry        No. 25, p. 2.
                                           -2-
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     Defendant served discovery requests on Plaintiff that included

requests for admission and interrogatories related to the parties'
pre-suit conciliation discussions. 8          Defendant   requested that
Plaintiff admit facts related to whether Defendant had been
informed of Landry's specific disability, the parties' settlement
negotiations, and Plaintiff's communications with Landry during

those negotiations. 9    Plaintiff filed its Motion asking the court
to quash discovery and to enter a protective order against the
discovery requests on October 25, 2019. 10        Defendant responded on
November 14, 2019, 11 and Plaintiff replied on November 20, 2019. 12
Defendant has also submitted its motion requesting the court stay
the action and compel conciliation. 13


                         II.   Law and Analysis

     Federal Rule of Civil Procedure 26(c) permits parties from
whom discovery is sought to move for a protective order.            Fed. R.
Civ. P. 26(c)(1).     If there is good cause for protection, the court


     8
      Plaintiff's Responses to the Defendant's First Requests for
Admissions and Second Set of Interrogatories ("Plaintiff's
Discovery Responses"), Docket Entry No. 27, pp. 7-13.


     10
          Plaintiff's Motion to Quash, Docket Entry No. 25.
     11   Defendant's Response, Docket Entry No. 30.
     1Plaintiff Equal Employment Opportunity Commission's Reply to
      2

Defendant's Response to Plaintiff's Motion to Quash and for
Protective Order ("Plaintiff's Reply"), Docket Entry No. 32.
     13   Defendant's Motion to Stay, Docket Entry No. 29, p. 16.
                                   -3-
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may prohibit the requested discovery or limit inquiry into certain

matters.          Fed.   R.   Civ.   P.    26(c)(A),     (D).      Plaintiff     seeks
protection against Defendant's requested discovery as to actions
taken and discussions held during conciliation.                    Plaintiff argues
that the Supreme Court's decision in Mach Mining, LLC v. E.E.O.C.,

135 S. Ct. 1645 (2015), sharply limits the scope of review and
therefore         discovery     of   the       conciliation     process,   and   that
Defendant's        requested discovery           exceeds that      limited scope. 14
Defendant responds that Mach Mining allows narrowly tailored
discovery of conciliation and that its requests fall within that
scope. 15
        Title VII of the Civil Rights Act, which the ADA incorporates
by reference,         allows the EEOC to sue employers on behalf of
individuals who have been discriminated against. 29 U.S.C. § 794a;
42 U.S.C. § 2000e-5(b).                 As a mandatory precondition to the
lawsuit, however, the EEOC must first attempt to resolve the issue
through         "informal     methods     of    conference,      conciliation,    and
persuasion."         42 U.S.C. § 2000e-5(b); Mach Mining, 135 S. Ct. at
1651.         In Mach Mining the Court held that fulfillment of this
precondition is subject to limited judicial review.                   135 S. Ct. at
1652-53.         To fulfill the mandatory precondition for conciliation
under § 2000e-5(b) "the EEOC must inform the employer about the


        14
             Plaintiff's Motion to Quash, Docket Entry No. 25, pp. 3, 6.
        15
             Defendant's Response, Docket Entry No. 30, pp. 12, 14.
                                           -4-
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specific allegation," describing "both what the employer has done

and which employees (or what class of employees) have suffered as
a result."         Mach Mining, 135 S. Ct. at 1655-56.           The EEOC must
then "try to engage the employer in some form of discussion .              •   •   I



so as to give the employer an opportunity to remedy the allegedly

discriminatory practice."           Id.     at 1656.    Judicial review of
conciliation is limited to whether these requirements were met and
excludes review of statements made or positions taken during the
attempted discussions.        Id.   This limitation is necessary to give
effect to the statute's requirement that the informal conciliation
process not be disclosed to the public or used as evidence in a
subsequent proceeding.        Id. at 1655; see 42 U.S.C. § 2000e-5(b).
     Defendant argues that Mach Mining speaks only to the scope of
judicial review under§ 2000e-5(b) and does not govern the scope of
discovery available under the standard of review. 16                 But this
argument      is    inconsistent    with     Mach   Mining's     holding   that
"' [n] othing said or done during and as a part of [conciliation] may
be made public by the Commission, its officers or employees, or
used as evidence in a subsequent proceeding.'"                 Id. (quoting 42
U.S.C. § 2000e-5(b)).       This holding constrains disclosure of facts
related to the conciliation process to what is necessary for the
court to decide whether the EEOC discharged its duty to conciliate.
Id. at 1656.          The court must therefore consider Defendant's


     16
          Defendant's Response, Docket Entry No. 30, p. 11 � 24.
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discovery requests in light of the limited scope of review to

determine whether they are "relevant to any party's claim or

defense and proportional to the needs of the case."                Fed. R. Civ.

P. 26(b)(1); see also EEOC v. New Mexico, Corrections Department,

Civ. No. 15-879 KG/KK, 2016 WL 9777238, at *5 (D.N.M. Sept. 30,

2016) (concluding Rule 26 and Mach Mining prohibit discovery of

documents related to the substantive content                    of conciliation

discussions).

       Defendant argues that its discovery requests are relevant to

its contentions that the EEOC has not discharged its duty to

conciliate because "(1) the EEOC failed to timely provide any

specific allegation of Landry's 'disability' to Walmart and (2) the

EEOC failed to engage[) in good faith conciliation discussions,

which resulted in denying Walmart an actual opportunity to remedy

the     allegedly      discriminatory         practice     by   concealing      and

misrepresenting information." 17          To decide Plaintiff's Motion to

Quash the court must assess whether these allegations are within

the court's scope of review and whether Defendant's discovery

requests are appropriate in light of that scope of review.


A.     Specific Allegation of Disability

       The EEOC must notify the Defendant of the nature of the

"specific       allegation"   against    it    as   part   of   engaging   it   in

pre-litigation conciliation.         Mach Mining, 135 S. Ct. at 1655-56.


       17
            Defendant's Response, Docket Entry No. 30, p. 14 � 30.
                                        -6-
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Defendant seeks discovery of evidence that Plaintiff did not notify

Defendant of the specific type of disability suffered by Landry.

     In most cases the EEOC satisfies the notice requirement when
it sends an employer a letter that details the specific allegation
that the employer has engaged in employment discrimination.                Id.
But at least one federal district court has stated that notice
would not be sufficient to satisfy the requirement unless the EEOC

specifies the disability suffered by the complainant in the case.
EEOC v. Amstead Rail Co., Inc., 169 F. Supp. 3d 877, 885 (S.D. Ill.
2016).       This court agrees.   The ADA claim brought by Plaintiff
alleges that Defendant engaged in employment discrimination against
a disabled person who is a qualified individual on the basis of
disability. 42 U.S.C. § 12112(a). Qualified individuals under the
ADA are those "who, with or without reasonable accommodation, can
perform the essential functions of the employment position."               42
U.S.C.   §   12111(8). Whether a disabled person is able to perform a
job's essential functions with or without reasonable accommodation
requires a fact-specific inquiry as to the disability suffered and
the job's requirements.      See Stevens v. Rite Aid Corp., 851 F.3d
224, 229 (2d Cir. 2017); Holbrook v. City of Alpharetta, Georgia,
112 F.3d 1522, 1527 (11th Cir. 1997).       This means that an employer
needs to know the alleged         disability    of the complainant to
understand an ADA employment discrimination claim against it.
Accordingly,     the EEOC must inform an employer of the specific
disability involved as part of the allegations underlying an ADA

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claim.      Whether      Plaintiff   sufficiently     notified      Defendant is

subject to review,         and therefore discovery of what information

Plaintiff provided Defendant regarding Landry's specific disability

is appropriate.         See Fed. R. Civ. P. 26(b)(1).

       Defendant's Requests for Admission Nos. 20, 21, 24, 25, and 34

all involve       whether      Plaintiff notified     Defendant      of   Landry's

specific disability. 18         These discovery requests are proportionate

and    relevant    to    the    court's     limited   scope    of    review     over

conciliation.       Plaintiff's Motion to Quash will be denied as to

these requests for admission.


B.     Review of Conciliation Discussions

       The EEOC must also "try to engage the employer in some form of

discussion."      Mach Mining, 135 S. Ct. at 1656.             Defendant argues

that the EEOC did not engage in good faith discussions and seeks

discovery related to alleged discussions, offers of settlement,

lack of counter-offers, and whether the EEOC notified Landry of

Defendant's settlement offers.            But Mach Mining expressly rejected

the    argument    that     a    conciliation    requirement        imposes     "any

reciprocal duty to negotiate in good faith."                  Id. at 1648.      The

statute grants the EEOC broad               discretion   "over the pace and

duration of conciliation efforts, the plasticity or firmness of its

negotiating positions, and the contents of its demands for relief."

Id. at 1654.       "And the EEOC alone decides whether in the end to


      Plaintiff's
       18
                         Discovery    Responses,      Docket    Entry     No.   27,
pp. 7-9, 13.
                                          -8-
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make an agreement or resort to litigation: The Commission may sue

whenever 'unable to secure' terms 'acceptable to the Commission.'"

Id.    (citing     42   U.S.C.   §   2000e-5(f)(1))        Combined    with   the

statute's non-disclosure provision,               this precludes the court's

review of statements made, positions taken, or the parties' actions

during conciliation discussions.           Id. at 1656.    Discovery as to the

details of conciliation discussions is therefore not relevant or

proportionate to the needs of the case.                  See Fed. R.    Civ. P.

26(b)(1).        Review, and therefore discovery, is limited to whether

the EEOC notified the Defendant of the charge and attempted to

engage in a discussion.          Mach Mining, 135 S. Ct. at 1656.

       Defendant's Request for Admission No. 19 asks Plaintiff to

admit that it sent a letter "inviting Walmart to join .                        'a

collective effort toward conciliating the case.'" 19               This request

relates to whether Plaintiff attempted to engage Defendant in a

conciliation discussion, which is within the court's limited scope

of review.         Plaintiff's Motion to Quash will be denied as to

Request for Admission No. 19.

       Defendant's Requests for Admission Nos. 22, 23, 26, 27, 28,

29, 30, 31, and 32 and Defendant's Interrogatory No. 24 all relate

to discussions on the merits of the case,                  settlement offers,

counter-offers,         and    whether    Plaintiff     informed    Landry    of
Defendant's settlement offers. 20              This discovery pertains to the



       19
            Id. at 7.
       20
            Id. at 8, 10-13.

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substance and detail of the conciliation discussions, which are not

subject to judicial review and therefore are outside the scope of
discovery.     Plaintiff's Motion to Quash will be granted as to these

requests.


                          III.   Conclusions and Order

       For the reasons stated above, Plaintiff EEOC's Opposed Motion
to   Quash    and   for    Protective   Order   from   Defendant's    Written

Discovery Concerning Conciliation (Docket Entry No. 25) is GRANTED

IN PART as to Defendant's Request for Admission Nos. 22, 23, 26,

27, 38, 29, 30, 31, and 32 and Defendant's Interrogatory No. 24,

and DENIED IN PART as to Request for Admission Nos. 19, 20, 21, 24,

25, and 34.    Plaintiff will answer these requests for admissions by
January 10, 2020.
       The court will defer ruling on Defendant's Opposed Motion to
Stay and Compel Conciliation            (Docket Entry No.     29)   until the

parties have had an opportunity to complete limited discovery on
conciliation.       The parties will submit supplemental briefs and

evidence on the motion by January 24, 2020.            Paragraphs 6 through

12 of the Docket Control Order (Docket Entry No. 20) are VACATED.

       SIGNED at Houston, Texas, this 17th day of December, 2019.




                                     SENIOR UNITED STATES DISTRICT JUDGE


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